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 5

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   United States of America
 7

 8                                   UNITED STATES DISTRICT COURT
 9                                 EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           Case No: 1:21-cr-00313 NONE/SKO
12                                  Plaintiff,           STIPULATION BETWEEN THE UNITED
                                                         STATES AND DEFENDANT REGARDING
13                                                       PRODUCTION OF PROTECTED
                                                         INFORMATION; [PROPOSED] PROTECTIVE
14                           v.                          ORDER RE: SAME
15
                                                         Ctrm:    8
16   PAUL JOSEPH ESPINOSA,
                                                         Hon. Sheila K. Oberto
17                                  Defendant.
18

19

20           WHEREAS, the discovery in this case contains (1) private personal information regarding third
21 parties, including but not limited to their names, physical descriptions, social media identifiers,

22 telephone numbers and/or residential addresses, as well as (2) confidential information regarding or

23 otherwise contained within certain social media applications and websites (“Protected Information”);

24 and

25           WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
26 unauthorized disclosure or dissemination of this information to anyone not a party to the court

27 proceedings in this matter;

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 1           The parties agree that entry of a stipulated protective order is therefore appropriate.
 2           THEREFORE, defendant PAUL JOSEPH ESPINOSA, by and through his counsel of record,
 3 Matthew Lemke, Esq. (“Defense Counsel”), and the United States of America, by and through Assistant

 4 United States Attorney Brian W. Enos, hereby agree and stipulate as follows:

 5           1.     This Court may enter a protective order pursuant to Rule 16(d) of the Federal Rules of
 6 Criminal Procedure, as well as its general supervisory authority.

 7           2.     This Order pertains to all discovery provided to or made available to Defense Counsel as
 8 part of discovery in this case (hereafter, collectively known as “the discovery”).

 9           3.     By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any
10 documents or other information that contain Protected Information with anyone other than Defense

11 Counsel’s attorneys, designated defense investigators, designated defense experts, and support staff.

12 Defense Counsel may permit the defendant to view unredacted documents or other information in the

13 presence of his attorneys, defense investigators, and/or support staff. The parties agree that Defense

14 Counsel, defense investigators, and support staff shall not allow the defendant to copy Protected

15 Information contained in the discovery. The parties agree that Defense Counsel, defense investigators,

16 and support staff may provide the defendant with copies of documents or other information, if any, from

17 which Protected Information has first been redacted.

18           4.     The discovery and information therein may be used only in connection with the litigation
19 of this case and for no other purpose. The discovery is now and will forever remain the property of the

20 United States of America (“Government”). Defense Counsel will return the discovery to the Government

21 or alternatively keep it archived within its sole possession at the conclusion of the case.

22           5.     Defense Counsel will store the discovery in a secure place and will use reasonable care to
23 ensure that it is not disclosed to third persons in violation of this agreement.

24           6.     Defense Counsel shall be responsible for advising the Defendant, employees, and other
25 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

26           7.     In the event that Defendant substitutes counsel, undersigned Defense Counsel agrees to
27 return the discovery to the government, or, at the request of government counsel, to forward it to new

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 1 counsel after new counsel has confirmed to government counsel in writing his or her agreement to the

 2 terms of this Order.

 3 IT IS SO STIPULATED.

 4                                                     (As auth. 12/23/21)
 5 Dated: December 23, 2021                     By:    /s/ Matthew Lemke
                                                       Matthew Lemke, Esq.
 6                                                     Attorney for Defendant
                                                       Paul Joseph Espinosa
 7

 8 Dated: December 23, 2021                     PHILLIP A. TALBERT
                                                Acting United States Attorney
 9

10                                              By:    /s/ Brian W. Enos
                                                       Brian W. Enos
11                                                     Assistant U.S. Attorney
12 IT IS SO ORDERED.

13

14 Dated:
                                                       Hon. Sheila K. Oberto
15                                                     United States Magistrate Judge
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